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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


BRYAN ANTHONY REO,                           )      Case No.: 1:19 CV 2103/2589/2615/2786
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )
MARTIN LINDSTEDT,                            )
                                             )
                                             )      ORDER
       Defendants                            )


       Currently pending before the court is a Motion to Dismiss Defendant’s Counter-Claim for

Defamation on the basis of Res Judicata, filed by Plaintiffs Bryan Reo and Stefani Rossi (ECF No.

130). This Motion was referred to Magistrate Judge Thomas Parker for a Report and

Recommendation (“R&R”), which he issued on September 13, 2023 (ECF No. 144). In the R&R,

he recommended that the court construe the Motion as a Motion for Summary Judgment, and deny

it as successive and improperly filed. Plaintiff filed Objections to the R&R on September 15, 2023

(ECF No. 145).

       Having reviewed the Report and Recommendation and the Objections thereto, the court finds

the Objections are not well taken.       Further the court finds that the Magistrate Judge’s

recommendation is well taken and hereby adopts the Report and Recommendation in its entirety.
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Therefore, the court construes the Motion (ECF No. 130) as a Motion for Summary Judgment and

dismisses it as successive and improperly filed.

       IT IS SO ORDERED.


                                                   /s/SOLOMON OLIVER, JR.
                                                   UNITED STATES DISTRICT JUDGE
March 22, 2024




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